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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION AT DAYTON



UNITED STATES OF AMERICA,            :

      Plaintiff,                     :     Case Number: 3:19-PO-183


      -vs-
                                     :     Magistrate Judge Michael J. Newman

JOHN J. KRAMER                       :

      Defendant.                     :


                               ORDER OF DISMISSAL




      Upon the Government’s oral motion to Dismiss, the above-referenced case is

hereby DISMISSED.



August 27, 2020                             s/Michael J. Newman

                                           Michael J. Newman
                                           United States Magistrate Judge
